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                           TINITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 LUBBOCKDIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                            NO. 5:21-CR-094-03-H

EDILBERTO REYES.
     Defendant.


                  ORDER ACCEPTING REPORT AIYD RECOMMENDATION
                     OF TIIE UMTED STATES MAGISTRATE JUDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OXl), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

         Dated December         2021.


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                                            JAMES        SLE    HENDRIX
                                            UNITED TATES DISTRICT JUDGE
